 

 

Case:19-15484-MER Doc#:4 Filed:06/26/19 Entered:06/26/19 12:19:16 Pagel of 2

Fill in this information to identify your case:

 

 

 

 

Debtor 1 Samuel C. Dukes

First Name Middle Name Last Name
Debtor 2 .
(Spouse if, filing) First Name Middle Name Last Name aa ie uyE oe

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO nae ae \ Oy

Case number
{if known)

 

 

 

19°16
Official Fortn 108!
Statement of Intention for Individuals Filing Under Chapter 7 4245

  

 

If you are an individual filing under chapter 7, you must fill out this form if:

i creditors have claims secured by your property, or

Hl you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,

whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

 

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.
Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the. property
secures a debt? : as exempt on Schedule C?

Creditors Aventa Credit Union @ Surrender the property. 1 No
name: C Retain the property and redeem it.

_ C Retain the property and enter into a M Yes
Description of 2017 Dodge Ram 2500 Reaffirmation Agreement.
property C] Retain the property and [explain]:

securing debt:

 

 

Creditors Aventa Credit Union C1] Surrender the property. C1 No
name: C] Retain the property and redeem it.
EE Retain the property and enter into a M Yes

Description of 2006 325ci BMW vehicle (Son's Reatfirmation Agreement.

property car) CO Retain the property and [explain]:
securing debt:

 

 

Creditors United Wholesale Mortgage CO Surrender the property. CI No
name: C1 Retain the property and redeem it.
Mi Retain the property and enter into a Ml Yes

Description of Residence located at 1192 S.
property Bahama Street, Aurora, CO
80017

Reaffirmation Agreement.
CJ Retain the property and [explain]:

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Debtor1 Samuel C. Dukes

Case number (if known)

 

securing debt:

 

 

 

List Your Unexpired Personal Property |

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Sign Below

Will the lease be assumed?

O No

O Yes

O No

Oo

Yes

No

Yes

No

Yes

No

Yes

No

Yes

No

OO O88 8 OO Oogao0o oD

Yes

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 

Xx <S!, 4 D>

X

 

Samuel C<Dukes——
Signature of Debtor 1

Date June 24 2019

 

Signature of Debtor 2

Date

 

 

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7

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